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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Judge Robert E. Blackburn

  Civil Case No. 05-cv-02351-REB-MEH

  KEVIN FARMER, and
  CASSANDRA FARMER,

        Plaintiffs,

  v.

  ALEXANDER, WRIGHT & ASSOCIATES, a Texas corporation,

        Defendant.


                                 ORDER OF DISMISSAL

  Blackburn, J.

        On April 14, 2006, the parties filed a Stipulated Motion to Dismiss With

  Prejudice [#16]. After careful review of the motion and the file, the court has concluded

  that the motions should be granted and this action should be dismissed with prejudice.

        THEREFORE, IT IS ORDERED as follows:

        1. That the Stipulated Motion to Dismiss With Prejudice [#16] filed on April

  14, 2006, IS GRANTED;

        2. That this action is DISMISSED WITH PREJUDICE with the parties to pay

  their own attorney fees and costs;

        3. That the Trial Preparation Conference set for June 22, 2007, is VACATED;

  and
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        4. That the jury trial set to commence July 9, 2007, is VACATED.

        Dated April 14, 2006, at Denver, Colorado.

                                               BY THE COURT:

                                               s/ Robert E. Blackburn
                                               Robert E. Blackburn
                                               United States District Judge




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